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CaS€ 6217-CV-00099-CCL

Geoffrcy C. Angel

ANGEb LAW FIRM

803 Wcst Bnbcock
Bt)zem:m, Montnnn 59715
'l`t:lcphouc (406) 922-2210
Facsimile (406)922-221.1
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Artornc.-y for Plnintit'l`

Document 1-2 Filed 10/18/17 Page 1 of 13

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BYMICHELLE WRAY

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MONTANA FIRST .YUDICIAL DIS'|`RIC'|` COURT, LEWIS AND CLARK COUNTY

g Cu use Numb er DV-l¢i- Q)B\( (B©\q' "'\q

KA'I`HER]NE DILLON,
Plnintifl`,
vs.

PROGRESSIVE CASUALTY
lNSURANCE COMPANY,

Dcl'cntlnnt.

) COMPLAINT

)

) DECLARATQRY JuDoMaN'r Ac"r
) .

§ MICHAEL F MCMAHON

) PRESIDING JUDGE

)

COMES NOW plaintiff Katherine Diilon, by and through her counsel of record

Geol“r`rcy C. Angel, and for her claims for reliel`alleges as i`ollows:

'N¢\‘runn oF AC'i‘ioN

l. This action is being brought by Katherine Dillon against Progressive Casnalty

insurance Colnpsny for a declaration the duty to advance pay medical expenses

encompasses 21 promise to pny or advance payment when that is a requirement for

medical treatment

_v

7 At all times relevant herein Katherine Dillon was a resident and domicile of

Gallatin County, Montann.

l3. ___ Progresslve Cz_tsualty* insurance Company' is a subsidiary of Progressive

--_..-.

Corporation. Progressive Corporation (Progressive)' 1s an Ohio Corporation with

its principle place of business in Ohio.

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Progressive Corporation (Progressive) is an Ohio Corporation with its principle
place of business in Ohio.

Progressive Corporation is the Parent Corporation of a number ol` subsidiaries and
aftiliates who insure motor vehicles in Montana and the various states and who
are subject to the laws of the state of Montana due to the adjustment ol` losses

within this state.

Progressive operates in Montana under a number of subsidiaries and affiliates
including Progressive Advanccd lnsurance Company, l’rogressive Casualty
Insurance Company Direct insurance Company, Progresslve Classic Insurance
Company, Progressive Comniercial [nsurance Company, Progressive Direct
insurance Contpany, Progressive Max insurance Conipany; Progressive Northern
Insurance Company, Progressive Notthwestern Insurance Company, Progressive
Prel’erred Insurance Conipany, Progressive Specialty Insurance Company and

Progressive West lnsurancc Cornpany among others.

Progressive Corporation also operates in the various states other than i\/lontana
under a number ol` subsidiary and affiliates who are subject to the laws of the state
of Montana due to losses that occur here and are adjusted by Progressive within
h'lonlana including Artisan and 'i`ruckers Casualty insurance Company among

others.

'l`his action seeks to redress Prog,ressive’s adjusting practices on behalf of all of its
subsidiaries and attiliates, for losses that occurred in Montana or are otherwise

subject to the insurance laws ot`thc state of Monrana.

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il.

Progressive has a system wide adjusting practice in Montana to refuse to pay the
full measure for loss of use damages for vehicles damaged in Montana or under a

Montana policy ot`insurance.

Progressi ve systematically pays or offers to pay, not the reasonable rental value of
a comparable vehicle, as required by Montana law but instead pays its
“sweatheart” rate with Enterprise Rent A Car which is a rate well below the daily

rental Value ofa comparable vehicle.

In 2009 Montana’s Conunissioner of Securities and Insurance issued an Advisory
l\/Iemorandunn which carries the weight of law, regarding the proper measure of

loss ofuse damagesl

“With regard to loss of usc of personal property, the measure ol` damages is the
reasonable rental value ol' comparable properly for the period of lime
necessary to repair or replace the damaged property regardless of whether or not a
rental was obtained.” Lel/ar Monicrl Lindcen to P)'operty aan Ca.szmlt_v'.brsm'ers

and Licenserl ;lc{jusle)~s dated M?))'ch ]6, 2009, E.rhibr'l/i.

The “rcasonabie rental value oi` 21 comparable vehicle means the rental vniuc of n
vehicle ofiiite kind and quality from the time ofioss until the damaged vehicle

is repaired.” Ic!.

instead ol"paying the fair market value of a comparable vehicle Progressive pays
or offers to pay a reduced rate based on its private negotiated rate with just one
national rental car agency, Entcrprise chi A t..'ar, which is l`ai below the

reasonable rental value ot' a comparable vehicle

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fn this case, a comparable vehic|e_, a Luxury SUV, rents l`or 5229 per day at the
cheapest rental agency in the Bozeman area and yet Progressi ve claims it has
negotiated a sweetheart rate of $54.99 per day with Enterprise Rent A Car. The
difference withheld by Progrcssive in this single property damage claim is

33,132.18 See Expec!ia C'rtr Remrrl Rcrle.rfbr Bozeman, Exhibr'r B.

Progressive denied the i`air market reasonable rental value of a comparable vehicle
based upon its institutional practice to pay only the sweetheart rate “guaranteed
rate by Enterprise Rent A Car” when Progressive actually rents a vehicle from

Enterprlse. [.etre." Prog)'e.rsive la Angel dated Mrrrch 25, 20[5, E.rhil)i.t C.

in this case Progressive did not provide Katherine Dillon with a rental vehicle
from Enterprise at its sweetheart below market rate and it cannot rely on this
reduced rate to measure the l`air market reasonable rental value when calculating
loss ofuse. 'i`he result oi` such a practice in this case alone resulted in an

underpayment of$3, |32.18.

On ivlarch l, 2015 Katherine Dillon was traveling West along Tschache Lane in
Bozeman on dry clear roads when Progressive’s insured pulled out of a parking

lot and t~boned Mrs. Dillon’s vehicle

Mr. Dillon used the vehicle the day following the accident to drive to work but
didn’t use it for anything else once he noticed significant alignment issues which

appeared to make it unsafe to drive.

‘Mr`. l.)illB't'i thedi€iblt the' vehicle for a repair estimate after which they were told ___......._

not to drive the vehicle due to safety issues.

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25.

Mrs. Dillon suffered the loss of use of her Hummer l~l3 up to and during the time

it was being repaired.

t\/lrs. l)illon and Progressive agreed the loss of use was from the date of the

accident through March lS, 2015 or for 18 days.

Mrs. Dillon made a demand for loss of use damages from Progressive at the
market rental rate and in turn Progressive paid her not the fair market value of a

comparable vehicle but based on its sweetheart rate with Enterprise Rent A Car.

Progressive refused to negotiate but paid according to its institutional policy

which violates Montana la\v.

Pursuant to Section 25- l 0-303, Montana Code Annotated, Katherine Dillon made
a written request for Progressive to make an offer to resolve this property damage

only claim

Progressive offered 3100 to resolve the dispute after having a “management team”

review the policy which it determined to rely on to deny any further payments

At'PLtcl\m.-E S'ra'l‘t-; Law
Plaintifl’s claim is being brought pursuant to Montana’s Unfair Trade Practices

Act §§ 33-18-20l, et seq.

Cou.\'r- l-tl.\' w n 't‘nann l’nacrtcus Acr
Plalntlt’l‘ rettlleges and incorporates by reference paragraphs l through 26 as if

fully set forth herein.

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Plaintif`t` is entitled to damages due to an insured loss.

Det`endant has made a general business practice ofviolating the Uni`air Claim

Settlement Practices provisions of MONT. CODE ANN. §§ 33-18-101 el. seq.

Def`endant misrepresented pertinent facts or insurance policy provisions in direct

violation ofMoNT. Coot-: ANN. § 33-18~201(1).

Defendant refused to pay claims without conducting a reasonable investigation
based upon all available infonnation in direct violation of MONT. CODE ANN. §

33-] 8-20 l (4).

Dei`endant’s conduct in dealing with Plaintift"s claim has been dilatory in direct

violation of lvlor~rr. Coot-; ANN. §§ 33-18-201{6).

Defenclant is guilty of actual malice and actual fraud as defined in MONT, CODE

ANN. §§ 27~l-220 and 221.

Dei`endant had actual knowledge that its failure to comply with the provisions of
MONT. CODE ANN. § 33~18~201 would create a high probability of injury to
Plaintil`l"and yet continued to act deliberately in conscious or intentional disregard

Dei`endant misrepresented the insurance policy to Plaintii`i’s detriment

PbAtN't'tFF CLASS ACT|O.\' AL.LEGM‘IONS
Plaintiffrealleges and incorporates by reference paragraphs l through 34 as if
fully ser l‘urtlr herein 'l`his class action is under Montana P.ule of Civil Pmr.edure

23(;1), 23(b)(l), and 23(b)(2).

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.Class Description. The class of plaintiffs in this case is described as: all claimants
entitled to loss of use damages in which Progressive paid or offered to pay based

upon its negotiated rates rather than the market rates for a comparable vehicle

Unt`air 'l`rade Practices Act. Defendant violated the Unf`air 'l`rade Practices Act in

 

the manner and under the same facts for each class members as described for

Plaintifl'above.

'l`ime ll.imit. The class includes all claims made within eight years of the date ot`

 

filing the complaint because plaintiff, and each class membcr, is an intended

beneficiary of a written contract.

Geoaraphic Liniit. 'I`he class includes all Montana Auto Policies and other state
policies adjusted according to t\/lontana law under the class description and within
the time limit described above.

Damages. Plaintii"t` and each class member received loss of use damages based on
a below market rental rate rather than thc required measure which is the fair

market reasonable rental value for the time required to repair their vehicle

Numerositv oi' Class. The class is so numerous that joinder of the members is
impractical. 'I`he frequency and persistence of Defendants’ acts are so widespread

thatjoinder of all members of the class is impracticable

Commonalitv o't`Qnestions. This lawsuit challenges Progressive's refusal to

honor its legal obligation to pay lose ol"ut:c based upon the fair market reasonable

rental value ot` a similar vehiclc.

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'l`vpicalitv ol’C|aitns. Plaintiff is a member cf the class, and her claim is typical of

all ClasS Members.

Adegnacv of Representation. Named Plaintit'i` is a member of the class and has
suffered a violation of her rights at the hands of Defendant. Plaintit`f is
represented by competent counsel with experience in class actions and counsel
will fairly and adequately protect the interests of the class: Plaintiff and counsel

have adequate resources to maintain the class action.

Consislencv ol"Adiudication. The class is large in number and widely disbursed
The prosecution of separate actions by fewer than all members of the class would
create a risk of inconsistent or varying adjudications with respect to individual
members of the class which would establish incompatible standards for
enforcement and which, as a practical matter, would dispose of the interests of the
other Class Members not parties to this adjudication or would substantially impair

or impede their ability to protect their interests

Class Wide Rcliet`. Defendants have acted and continue to acton grounds

generally applicable to the class, making final class Wifc relief appropriate

Snperioritv cf Class Action. The questions of law and fact common to the
members ol'the class predominate over any questions affecting only individual
members and a class action is superior to any other available method for fair and

efficient adjudication of the controversy

tvlodiliuatluu of Class Aeticn Allegatinns. As further information is gatheredl

Plaintit`f may modify the paragraphs in this §in an anticipated class certification

motion and brief in snpport.

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l . WHEREFORE, the plaintiff prays forjudgment:

2. An amount for all special damages for Defendant‘s bad faith practices in violation

of Montana’s Unf`air "l`racle Practices Act.

3. Punitive damages due to Det`endant’s fraudulent and malicious conduct in
violating Mcntana’s Unfair Trade Practices Act.
4. Costs, including reasonable attorney fees under Section 27-1-306, MCA, and

under the equitable powers to be made whole.

DEMAND FOR 'l`RiAL BY JUR¥

l’|aintiff demands trial by jury on all issues of this action.

cary 2017

t '~ g .
ANGEL'. LAW l`lRM
Attorney for Plaintiff

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Case 6:17-cv-00099-CCL Document 1-2 Filed 10/18/17 Page 10 of 13

 

11 CT Corporation

To: Gregory Tidwell

Service of Process
Transmittai
09/21/2017

CT~Log Number 531974372

Progressive Casualt;y insurance Company

10929 Di`sk Dr.

Rancho Cordova, CA 95670-6077

RE: _P.rocess Served in Montana

FoR: Progressive Casualty insurance C'ompany (Domestic State: OH)

EHCLGSED ARE CBP[ES 0F LE_GAL PROCESS RECE|VED BY THE STATUTBRY AGENT OF THE ABOVE CDMFANY AS FDLLOWS:

'rm_E oF Ac'r`ioN:
nocumeu'r(s) senveo=

COURT/AGENCY:

NATURE OF ACTlON:

ON WHO_M PROCESS WAS SERVED;

DATE' AND HOUR OF SERV|GE:
JURlSDlCTlOH SERVED s
AFFEARANCE DR ANSWER DUE:

ATTURNEY(S) ISEHDER(S):

ACT] ON lTEMS:

SlGHED:
ADDRESSZ

TELEPHONE:

KATHERlNE DlLLON, Pltf. vs. Progressive Casualty insurance Company, th.
Letter, Summons, Complaint

Clark County » Monntana First Judicial District Court, MT
Ca$e # DV17BDY201719

insurance Litigation

C T Corporation System, Missoula, MT

By Regular Mail on 09/21/2017 postmarked on 09/19/2017

Montana

Within 21 days after the service of this summonsg exclusive of the day of service

Geoffrey C. Anget
Angel Law Fi rm

803 West Babcock
Bozeman, MT 59715
406-922-2210

CT has retained the current iog, Retain Date: 09 /22/2017, Expected Purge Date:
09/27/2017

image SOP

EmailNotification, GregoryTidwell gregory“t_tidwell@progressive.com
EmaitNotification, Sean W. Allen sean_w_allen@progressive.com
Email Noi;ification, Debora|'t Fisk deborah_i'isk@progressivecom
EmailNotification, Paula Stewart paula_stewart@progressive.com

lEmaili~lotification, Bonnie Thornas bonnie_thomas@progressive.com

C T Corporation System
3011 American Way
Missoula, MT 59808-1921
314~863-`5545

Pagei of 1 l DS

information displayed on this transmittal is for Ci`
Corpor_ation's record keeping purposes only and is provided to
the'recipient for quick reference. Thls information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained ln the documents themselves Reclplenl: is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents,

Case 6:17-cv-00099-CCL Document 1-2 Filed 10/18/17 Page 11 of 13

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Matthew ivl. Rosendaie
€Q_ Oflice of the Commissloner ofSecurilies
_ ""‘-‘Z"" and lnsurance. Montana State Auditor
. f 840 Heiena Ave.
He|ena. MT 58601

CT Corporation Systern
3011 Americ:an Way
Missouia, MT 59808

 

 

 

 

 

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Case 6:17-cv-00099-CCL Document 1-2 Filed 10/18/17 Page 12 of 13

COMMISSIONER 01=_ SECURITIES & INsU_RANCE

OFFicE 01= ms MONTANA
STA'rE AuDu'on

MA'ITHEW M. RosENDALs, Sn.
CoMMlssIoNen

September 19, 2017

 

CERTIFIED RETURN RECEIP'I` MAIL

CT Corporation System
3011 American Way
Missoula, MT 59808

Dear CT Corporation System:

Attached is a Summons and Declaratory JudgmenrAc! in the case of:

KATHERINE DILLON, _ _ ‘ ,
Plaintiff,
v.

PROGRESSIVE CASUALTY INSURANCE COMPANY,
Defendant,

originating in the District Court of the First Judioial Distriot of the State of Montana, in and for
the county of Lewis and Cl_ark. ` .

Service of process was made September 19, 2017, upon the Commissioner of Securities and
Insurence, Montana State Auditor, in c_onfonnity with the provisions of the Montana Code.
Please contact Ramona Bidon at (406) 444-2726 with any questions

Sincerely,

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KRISTIN HANSEN
lChiet` Legal Counsel

KH/lm

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_4~,.-.,__.._`_?~-- - -

cc: Geoi’frey C. Angel ' _ _ .“__._ ,
Attomey for Plaintiff

l"hone: 1-800-332-6148 / (406) 444-2040 / Main Fax: (406) 444<3497
' Securities Fax: (406) 444-5558 / PHS Fax: (406) 444-1980 / Legal Fax: (406} 444-3499
840 Helena Ave., Helcna MT 59601 Website: www.csi.mi:.gov E-Mail: csi@mt.gov

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Case 6:17-cv-00099-CCL Document 1-2 Filed 10/18/17 Page 13 of 13

Ccot't`rcy C. Angei

ANGEL LAW FIRM

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Bozcman, Montann 59715
Tclephone (406) 922-2210
Facsimilc (406) 922-2211
christienangei@hotmail.com

Attorney for Plnintifl's

MONTANA FIRST JUDICIAL DISTRICT COURT, LEWIS AND CLARK COUNTY

KATHEntNE anLoN, g cause Numser nil-17 Q>D\( lamar \Q

individually and on behalf of
ali others similarly situz\tecl, SUMMONS

Piaintifi`s
’ MIcHAeL F McMAHoN

vs. PRESIDING JUDGE

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i
PROGRESSIVE CORPORATION, )
and its subsidiaries and attilintes )
including PROGRESSIVE CASUALTY )
INSURANCE COMPANY, ARTISAN )
AND TRU CKERS CASUALTY )
COMPANY, all doing business as )
PROGRESSIVE®, )
)

)

Dei`endnnts.

T 0 1112 above-named defendant
YOU ARE HEREBY SUMMDNED to answer the complaint iii-this action which is
filed in the office of the clerk ot` this court, a copy of which is herewith solved upon you, and to
tile your answer and serve a copy thereof upon the plaintitf’s attorneys within 21 days after the
service of this summons exclusive of the day of service; and in case your failure to appear or
nnswer, judgment will be taken against you by default for the relief demanded in the complaint
Witnesseth my hand and seal of said court, this _# day of January 2017

\i\)\/;Ot~oiuj \/\)ow\,-

Clerk ofDistrict Court 6

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